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16   Platforms, Inc.
17                               UNITED STATES DISTRICT COURT
18                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
19                                      OAKLAND DIVISION
20    WHATSAPP LLC, a Delaware corporation,
                                        )
      and META PLATFORMS, INC., a Delaware
                                        )             Case No. 4:19-cv-07123-PJH
21    corporation,                      )
                                        )             PLAINTIFFS’ ADMINISTRATIVE
22                    Plaintiffs,       )             MOTION FOR LEAVE TO FILE REPLY
                                        )             IN SUPPORT OF ADMINISTRATIVE
23           v.                         )             MOTION TO ENLARGE TIME TO
                                        )             FILE DISCOVERY-RELATED
24    NSO GROUP TECHNOLOGIES LIMITED )                MOTIONS UNDER CIVIL LOCAL
      and Q CYBER TECHNOLOGIES LIMITED, )             RULE 37-3 (DKT NO. 388)
25                                      )
                      Defendants.       )
26                                      )
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 1          Pursuant to Local Rules 7-11, 6-1, and 6-3, Plaintiffs WhatsApp LLC and Meta Platforms,

 2   Inc. (“Plaintiffs”) move for leave to file a reply brief in support of their administrative motion to

 3   enlarge Plaintiffs’ time to file discovery-related motions under Civil Local Rule 37-3 (“Reply Brief

 4   in Support of Administrative Motion”), which is attached as Exhibit A.

 5          In opposing Plaintiffs’ motion to enlarge time (Dkt. No. 388), Defendants misdescribe several

 6   facts, and Plaintiffs seek leave to file a short reply to address those representations. 1    See, e.g.,

 7   Illumina, Inc. v. BGI Genomics Co., Ltd, 2021 WL 2662074, at *2-3 (N.D. Cal. June 29, 2021)

 8   (additional briefing is permitted to respond to new arguments raised for the first time in response to

 9   a motion). For example, Defendants repeatedly represent to the Court that the stipulation permitting

10   depositions to continue after the close of fact discovery stated that “[a]ll other deadlines of the Case

11   Management Schedule remain in place.” See, e.g. Dkt. 391 at 1. But the Case Management Schedule

12   is silent with respect to the deadline under Civil Local Rule 37-3, and the parties did not discuss that

13   deadline when negotiating the stipulation. Defendants, therefore, are wrong to claim that “Plaintiffs

14   now ask to unravel the parties’ stipulation.” Id.

15          Accordingly, Plaintiffs respectfully request that the Court grant Plaintiffs leave to file their

16   Reply Brief in Support of Administrative Motion attached as Exhibit A.

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                Plaintiffs sought Defendants’ consent to this motion, and Defendants did not respond
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     PLAINTIFFS’ ADMINISTRATIVE MOTION FOR LEAVE TO FILE REPLY BRIEF IN SUPPORT OF ADMINISTRATIVE MOTION TO
     ENLARGE TIME TO FILE DISCOVERY-RELATED MOTIONS - CASE NO. 4:19-CV-07123-PJH
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 1    Dated: September 24, 2024                    Respectfully Submitted,

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 3
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     PLAINTIFFS’ ADMINISTRATIVE MOTION FOR LEAVE TO FILE REPLY BRIEF IN SUPPORT OF ADMINISTRATIVE MOTION TO
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